                                                                           Case 8:18-bk-13311-CB              Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50        Desc
                                                                                                               Main Document    Page 1 of 22


                                                                           1     William N. Lobel, State Bar No. 93202
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                                                                           5     Attorneys for Ruby’s Diner, Inc., a California corporation,
                                                                                 et al., Debtors and Debtors-in-Possession
                                                                           6

                                                                           7                                   UNITED STATES BANKRUPTCY COURT

                                                                           8                     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

                                                                           9 In re:                                                    Case No. 8:18-bk-13311-CB

                                                                          10 RUBY’S DINER, INC.,                                       Chapter 11
                                                                               a California corporation, et al.,
                                                                          11                                                           (Jointly Administered With Case Nos.
                                                                                                 Debtors and Debtors-in-Possession.    8:18-bk-13197-CB; 8:18-bk-13198-CB;
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                                                                          12                                                           8:18-bk-13199-CB; 8:18-bk-13200-CB;
                                                                               Affects:                                                8:18-bk-13201-CB; 8:18-bk-13202-CB)
                                        COS TA M ES A , CA L IF O RN IA




                                                                          13
                                            ATTORNEYS AT LAW




                                                                                   All Debtors                                         Chapter 11
                                                                          14
                                                                                   RUBY’S DINER, INC., ONLY                            DEBTORS’ NOTICE OF MOTION AND
                                                                          15                                                           MOTION FOR AN ORDER, PURSUANT
                                                                                   RUBY’S SOCAL DINERS, LLC, ONLY                      TO BANKRUPTCY CODE SECTION
                                                                          16                                                           1121(d), FURTHER EXTENDING THE
                                                                                   RUBY’S QUALITY DINERS, LLC, ONLY                    EXCLUSIVE PERIOD FOR THE
                                                                          17                                                           SOLICITATION OF ACCEPTANCES
                                                                                   RUBY’S HUNTINGTON BEACH, LTD., ONLY
                                                                                                                                       OF CHAPTER 11 PLAN;
                                                                          18                                                           MEMORANDUM OF POINTS AND
                                                                                                                                       AUTHORITIES; DECLARATION OF
                                                                                   RUBY’S LAGUNA HILLS, LTD. ONLY                      DOUGLAS S. CAVANAUGH IN
                                                                          19
                                                                                                                                       SUPPORT THEREOF
                                                                                   RUBY’S OCEANSIDE, LTD., ONLY
                                                                          20
                                                                                   RUBY’S PALM SPRINGS, LTD., ONLY                     Date:        July 24, 2019
                                                                          21
                                                                                                                                       Time:        10:00 a.m.
                                                                          22                                                           Courtroom:   5D
                                                                                                                                       Address:     411 West Fourth Street
                                                                          23                                                                        Santa Ana, CA 92701

                                                                          24

                                                                          25

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                                                                  Case 8:18-bk-13311-CB            Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50             Desc
                                                                                                    Main Document    Page 2 of 22


                                                                  1   TO ALL INTERESTED PARTIES:
                                                                  2           PLEASE TAKE NOTICE that Ruby’s Diner, Inc., a California corporation (“RDI”);

                                                                  3   Ruby’s SoCal Diners, LLC, a Delaware limited liability company (“SoCal Diners”); Ruby’s Quality

                                                                  4   Diners, LLC, a Delaware limited liability company (“Quality”); Ruby’s Huntington Beach, Ltd., a

                                                                  5   California limited partnership (“Ruby’s Huntington Beach”); Ruby’s Laguna Hills, Ltd., a California

                                                                  6   limited partnership (“Ruby’s Laguna Hills”); Ruby’s Oceanside, Ltd., a California limited

                                                                  7   partnership (“Ruby’s Oceanside”); and Ruby’s Palm Springs, Ltd., a California limited partnership

                                                                  8   (“Ruby’s Palm Springs”) (collectively, without RDI, the “SoCal Debtors” and, with RDI, the

                                                                  9   “Debtors”) hereby move this Court (the “Motion”) pursuant to section 1121(d) of title 11 of the

                                                                 10   United States Code (the “Bankruptcy Code”) for an order further extending the Debtors’ exclusive

                                                                 11   period for the solicitation of acceptances of a chapter 11 plan from June 24, 2019 for a period of
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                                                                 12   approximately sixty (60) days following the August 7, 2019 scheduled hearing on approval of the
                                        COSTA MESA, CALIFORNIA




                                                                 13   Debtors’ disclosure statement, through and including October 7, 2019.
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                                                                 14           The Motion is based on the attached Memorandum of Points and Authorities and the

                                                                 15   Declaration of Douglas S. Cavanaugh (the “Cavanaugh Declaration”), the arguments of counsel, and

                                                                 16   other admissible evidence properly brought before the Court at or before the hearing on this Motion.

                                                                 17           PLEASE TAKE FURTHER NOTICE that a hearing to consider approval of the Motion

                                                                 18   will take place on July 24, 2019, at 10:00 a.m. before the Honorable Catherine E. Bauer, in

                                                                 19   Courtroom 5D of the United States Bankruptcy Court, located at 411 W. Fourth Street, Santa Ana,

                                                                 20   California 92701. The hearing may be continued from time to time by announcing such continuance

                                                                 21   in open court or otherwise, without further notice to parties in interest.

                                                                 22           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rules 9013-

                                                                 23   1(c)(2) and (f)(1), any objection or response of a party regarding the approval of the Motion must be

                                                                 24   filed with the United States Bankruptcy Court, located at 411 West Fourth Street, Santa Ana,

                                                                 25   California 92701 and served at least fourteen (14) days before the hearing, unless otherwise

                                                                 26   ordered by the Court.

                                                                 27           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                 28   the failure to timely file and serve written opposition may be deemed by the Court to be consent to


                                                                      DOCS_LA:322548.2 76135/003                        2
Case 8:18-bk-13311-CB   Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50   Desc
                         Main Document    Page 3 of 22
                                                                  Case 8:18-bk-13311-CB            Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50              Desc
                                                                                                    Main Document    Page 4 of 22


                                                                  1                                                        I.

                                                                  2                                        STATEMENT OF FACTS

                                                                  3   A.      Jurisdiction and Venue

                                                                  4           This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This is

                                                                  5   a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408

                                                                  6   and 1409.

                                                                  7   B.      Background

                                                                  8           On August 29, 2018, the SoCal Debtors filed voluntary petitions for relief under chapter 11

                                                                  9   of the Bankruptcy Code. On September 5, 2018, RDI filed a related chapter 11 case. On September

                                                                 10   5, 2018, the Court entered an order jointly administering the Debtors’ cases, with RDI designated as

                                                                 11   the lead debtor. On September 6, 2018, Ruby’s Franchise Systems, Inc. (“RFS”), an entity affiliated
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                                                                 12   with the Debtors through common ownership and control, commenced a separate chapter 11
                                        COSTA MESA, CALIFORNIA




                                                                 13   proceeding. The RFS chapter 11 case is not jointly administered with the Debtors’ cases.
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                                                                 14           No party has requested the appointment of a trustee or examiner in the Debtors’ cases. On

                                                                 15   September 19, 2018, the Office of the United States Trustee appointed the Committee in the RDI

                                                                 16   case.

                                                                 17   C.      The Exclusivity Periods, the Filing of the Plan and Disclosure Statement and the

                                                                 18           Pending Mediation

                                                                 19           Section 1121(b) of the Bankruptcy Code provides for an initial period of 120 days after the

                                                                 20   commencement of a chapter 11 case during which a debtor has the exclusive right to propose and

                                                                 21   file a chapter 11 plan (the “Exclusive Filing Period”). Section 1121(c)(3) of the Bankruptcy Code

                                                                 22   provides that if the debtor files a plan within the 120-day Exclusive Filing Period, it has a period of

                                                                 23   180 days after the commencement of the chapter 11 case to obtain acceptances of such plan, during

                                                                 24   which time competing plans may not be filed (the “Exclusive Solicitation Period”).

                                                                 25           By Order entered March 11, 2019, the Court, pursuant to section 1121(d) of the Bankruptcy

                                                                 26   Code, extended the Exclusive Filing Period and Exclusive Solicitation Period until April 25, 2019

                                                                 27   and June 24, 2019, respectively, without prejudice to the Debtors’ rights to seek additional

                                                                 28   extensions thereof.


                                                                      DOCS_LA:322548.2 76135/003                       4
                                                                  Case 8:18-bk-13311-CB            Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50              Desc
                                                                                                    Main Document    Page 5 of 22


                                                                  1           On April 24, 2019, prior to the expiration of the Exclusive Filing Period, the Debtors,

                                                                  2   together with RFS, filed their Joint Chapter 11 Plan of Reorganization (the “Plan”) [Docket No.

                                                                  3   344] and their Disclosure Statement Describing Joint Chapter 11 Plan of Reorganization (the

                                                                  4   “Disclosure Statement”) [Docket No. 345].

                                                                  5           Objections to the Disclosure Statement were filed by the Office of the United States Trustee

                                                                  6   (the “UST”) [Docket No. 361], Pillsbury Winthrop Shaw Pittman LLP (“Pillsbury”) [Docket No.

                                                                  7   364] and Opus Bank [Docket No. 367]. The Committee raised informal objections to the Disclosure

                                                                  8   Statement, however, by virtue of the agreement between the parties to attempt to resolve their

                                                                  9   disputes through mediation, has not filed a formal objection to the Disclosure Statement.

                                                                 10           The Debtors, RFS and the Committee agreed to enter mediation in an effort to resolve the

                                                                 11   issues between the parties, and to that end, on May 22, 2019, the Debtors filed their Request for
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                                                                 12   Assignment to Mediation Program (the “Request for Mediation”) [Docket No. 365], and on May 29,
                                        COSTA MESA, CALIFORNIA




                                                                 13   2019, the Court entered its order assigning the parties to mediation. Other interested parties
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                                                                 14   requested that they be included in the mediation as well.

                                                                 15           A hearing on approval of the Disclosure Statement has been continued to August 7, 2019 to

                                                                 16   allow the parties to attempt to mediate their disputes with respect to the Plan.

                                                                 17           The primary parties to the mediation are the Debtors, RFS, Douglas Cavanaugh and Ralph

                                                                 18   Kosmides (the founders of the Debtors and RFS), and the Committee. Opus Bank, Pillsbury and

                                                                 19   U.S. Foods, Inc., significant creditors of certain of the Debtors, may also be involved in the

                                                                 20   mediation if the issues with these creditors cannot be resolved prior to the mediation.

                                                                 21           The mediation is scheduled for June 21, 2019 before the Honorable Scott C. Clarkson.

                                                                 22           In light of the pending mediation scheduled for June 21, 2019, and the August 7, 2019

                                                                 23   continued hearing date on approval of the Disclosure Statement, the Debtors will not be in a position

                                                                 24   to meet the current Exclusive Solicitation Period of June 24, 2019. Therefore, the Debtors request

                                                                 25   that the Exclusive Solicitation Period pursuant to section 1121(d) of the Bankruptcy Code be

                                                                 26   extended for a period of approximately sixty (60) days following the August 7, 2019 scheduled

                                                                 27   hearing on approval of the Disclosure Statement, through and including October 7, 2019, without

                                                                 28   prejudice to the Debtors’ right to seek further extension of that period as may be appropriate under


                                                                      DOCS_LA:322548.2 76135/003                       5
                                                                  Case 8:18-bk-13311-CB              Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50                 Desc
                                                                                                      Main Document    Page 6 of 22


                                                                  1   the circumstances. The requested extension will to allow the parties to conduct the mediation, file an

                                                                  2   amended Plan and Disclosure Statement thereafter, seek approval of the Disclosure Statement at the

                                                                  3   scheduled continued hearing on August 7, 2019, and request that the Court schedule dates and

                                                                  4   deadlines relating to confirmation of the Plan and solicitation of votes with respect thereto.

                                                                  5           No previous motion for the relief sought herein has been made to this or any other Court

                                                                  6   except as requested in the Debtors’ first motion to extend the exclusive periods.

                                                                  7                                                           II.

                                                                  8                          CAUSE EXISTS TO GRANT AN EXTENSION OF THE

                                                                  9                                DEBTORS’ EXCLUSIVE SOLICITATION PERIOD

                                                                 10           A.       The Bankruptcy Code Specifically Provides for an Extension of the Exclusive

                                                                 11                    Solicitation Period
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                                                                 12           Section 1121(d)(1) and (2) of the Bankruptcy Code allows the Court, on request of a party in
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                                                                 13   interest made within the exclusive period and after notice and a hearing, to increase the 180-day
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                                                                 14   Exclusive Solicitation Period for cause, up to a maximum of 20 months after the date of the order for

                                                                 15   relief.1 In this regard, Section 1121(d) provides in relevant part as follows:

                                                                 16                    (1) Subject to paragraph (2), on request of a party in interest made within
                                                                                       the respective periods specified in subsections (b) and (c) of this section
                                                                 17                    and after notice and a hearing, the court may for cause reduce or increase
                                                                                       the 120-day period or the 180-day period referred to in this section….
                                                                 18
                                                                                       (2)(B) the 180-day specified in paragraph (1) may not be extended beyond a date that
                                                                 19                    is 20 months after the date of the order for relief under this chapter.
                                                                 20   11 U.S.C. § 1121(d)(1) and (2).
                                                                 21           The Bankruptcy Code does not define the term “cause.” However, the legislative history of
                                                                 22   section 1121(d) indicates that Congress intended to create a flexible standard pursuant to which a
                                                                 23   court balances the competing interests of a debtor and its creditors. See H.R. Rep. No. 95-595, at
                                                                 24   231–32 (1978), reprinted in 1978 U.S.C.C.A.N. 5787, 6191 (noting that Congress intended to give
                                                                 25   bankruptcy courts flexibility to protect a debtor’s interests by allowing an unimpeded opportunity to
                                                                 26   negotiate the settlement of debts without interference from other parties in interest). The flexibility
                                                                 27   1
                                                                       The requested extension of the Exclusive Solicitation Period in the Debtors’ cases is well within the 20-
                                                                 28   month maximum.


                                                                      DOCS_LA:322548.2 76135/003                          6
                                                                  Case 8:18-bk-13311-CB            Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50               Desc
                                                                                                    Main Document    Page 7 of 22


                                                                  1   of section 1121 of the Bankruptcy Code is intended to give a debtor an adequate opportunity to

                                                                  2   stabilize its business operations at the outset of its chapter 11 case and to negotiate an effective and

                                                                  3   consensual plan of reorganization with its creditors. In re Newark Airport/Hotel L.P., 156 B.R. 444,

                                                                  4   451 (Bankr. D.N.J.), aff’d, 155 B.R. 93 (D.N.J. 1993); Gaines v. Perkins (In re Perkins), 71 B.R.

                                                                  5   294, 297-98 (W.D. Tenn. 1987). The decision to extend the exclusive periods for cause is within the

                                                                  6   sound discretion of the Court, which discretion should be exercised in light of the facts and

                                                                  7   circumstances of each particular case, and after considering a variety of factors. See, e.g., First Am.

                                                                  8   Bank of N.Y. v. Sw. Gloves & Safety Equip., Inc., 64 B.R. 963, 965 (D. Del. 1986). In making the

                                                                  9   determination to grant or deny a request to extend the exclusive periods, courts have considered,

                                                                 10   inter alia, the following factors: (a) the size and complexity of the debtor’s case; (b) the necessity of

                                                                 11   sufficient time to negotiate and prepare adequate information; (c) the existence of good faith
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                                                                 12   progress toward reorganization; (d) whether the debtor is paying its postpetition debts as they
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                                                                 13   become due; (e) whether the debtor has made progress negotiating with creditors; (f) the length of
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                                                                 14   time a case has been pending; (g) whether the debtor is seeking an extension to pressure creditors;

                                                                 15   and (h) whether or not unresolved contingencies exist. See e.g., In re Express One Int’l, 194 B.R. 98

                                                                 16   (Bankr. E.D. Tex. 1996); In re Cent. Jersey Airport Servs., LLC, 282 B.R. 176, 184 (Bankr. D.N.J.

                                                                 17   2002) (granting extension based upon progress in negotiations).

                                                                 18           The Debtors submit that “cause” exists in these cases, and that the requested extension of the

                                                                 19   Exclusive Solicitation Period is both appropriate and necessary under the circumstances.

                                                                 20           On April 24, 2019, the Debtors, together with RFS, filed the Plan and the Disclosure

                                                                 21   Statement. Objections to the Disclosure Statement were filed by the UST, Pillsbury and Opus Bank

                                                                 22   and informal objections were raised by the Committee.

                                                                 23           In order to address the parties’ issues, the parties agreed to enter mediation and the Court has

                                                                 24   assigned this matter to mediation. The mediation is scheduled for June 21, 2019 before the

                                                                 25   Honorable Scott C. Clarkson. As a result of the mediation or otherwise, the Debtors intend to file an

                                                                 26   amended Plan and Disclosure Statement – which the Debtors hope will reflect the terms of a

                                                                 27   consensual plan. To allow the parties to attempt to consensually resolve their issues in these cases,

                                                                 28   the Court has scheduled a continued hearing on approval of the Disclosure Statement for August 7,


                                                                      DOCS_LA:322548.2 76135/003                        7
                                                                  Case 8:18-bk-13311-CB            Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50              Desc
                                                                                                    Main Document    Page 8 of 22


                                                                  1   2019. In light of this timeframe, it is not possible for the Debtors to meet the current Exclusive

                                                                  2   Solicitation Period deadline of June 24, 2019. The good faith progress made in attempting to resolve

                                                                  3   the parties’ disputes, however, justifies the requested extension of the Exclusive Solicitation Period.

                                                                  4           In addition, the termination of the Exclusive Solicitation Period could adversely impact these

                                                                  5   cases. If the Court were to deny the Debtors’ request for an extension of the Exclusive Solicitation

                                                                  6   Period, any party in interest would be free to propose a chapter 11 plan(s) for the Debtors at the same

                                                                  7   time as the Debtors are actively attempting to resolve the issues regarding the Plan and Disclosure

                                                                  8   Statement so that they may move forward with a consensual disclosure statement approval and plan

                                                                  9   confirmation process. A denial of this Motion could foster a disorderly environment, confuse

                                                                 10   creditors and other parties in interest, and cause substantial harm to the Debtors’ efforts to preserve

                                                                 11   and maximize the value of their estates. The requested extension of the Exclusive Solicitation
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                                                                 12   Period is thus necessary to provide the Debtors with an unimpeded opportunity to obtain approval of
                                        COSTA MESA, CALIFORNIA




                                                                 13   an amended Disclosure Statement and confirm an amended Plan.
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                                                                 14           Moreover, the Debtors are not seeking an extension of the Exclusive Solicitation Period to

                                                                 15   pressure creditors or other parties in interest. The Debtors are in the process of working with the

                                                                 16   Committee and the other major active constituencies in negotiating and formulating the Plan and will

                                                                 17   be engaging in mediation in an effort to resolve the outstanding disputes. The requested extension is

                                                                 18   reasonably limited insofar as it provides a window in which votes can be solicited and the Plan could

                                                                 19   be confirmed by the Court in light of the currently scheduled August 7th hearing on approval of

                                                                 20   Disclosure Statement.

                                                                 21           Taking into account these considerations, there is ample cause to support the requested

                                                                 22   extension of the Exclusive Solicitation Period for a period of approximately sixty (60) days

                                                                 23   following the August 7, 2019 scheduled hearing on approval of the Disclosure Statement, through

                                                                 24   and including October 7, 2019.

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                                                                      DOCS_LA:322548.2 76135/003                       8
Case 8:18-bk-13311-CB   Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50   Desc
                         Main Document    Page 9 of 22
                                                                  Case 8:18-bk-13311-CB               Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50                            Desc
                                                                                                       Main Document    Page 10 of 22


                                                                  1                                DECLARATION OF DOUGLAS S. CAVANAUGH
                                                                  2
                                                                                 1.       I am a founder and the Chief Executive Officer (“CEO”) of Ruby’s Diners, Inc., a
                                                                  3
                                                                      California corporation (“RDI”), the lead debtor in the above-captioned jointly administered chapter
                                                                  4
                                                                      11 cases of the above-captioned debtors and debtors-in-possession (Ruby’s SoCal Diners, LLC, a
                                                                  5
                                                                      Delaware limited liability company (“SoCal Diners”); Ruby’s Quality Diners, LLC, a Delaware
                                                                  6
                                                                      limited liability company (“Quality”); Ruby’s Huntington Beach, Ltd., a California limited
                                                                  7
                                                                      partnership (“Ruby’s Huntington Beach”); Ruby’s Laguna Hills, Ltd., a California limited
                                                                  8
                                                                      partnership (“Ruby’s Laguna Hills”); Ruby’s Oceanside, Ltd., a California limited partnership
                                                                  9
                                                                      (“Ruby’s Oceanside”); and Ruby’s Palm Springs, Ltd., a California limited partnership (“Ruby’s
                                                                 10
                                                                      Palm Springs”) (collectively, without RDI, the “SoCal Debtors” and, with RDI , the “Debtors”)). I
                                                                 11
                                                                      have served in the capacity of CEO of RDI since its incorporation in 1985. I am also a 60%
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                                                                 12
                                                                      shareholder of RDI. Ralph Kosmides owns the other 40% of RDI. Mr. Kosmides and I also own, in
                                        COSTA MESA, CALIFORNIA




                                                                 13
                                          ATTORNEYS AT LAW




                                                                      the same percentages, Ruby’s Franchise Systems, Inc., a California corporation (“RFS”), an entity
                                                                 14
                                                                      affiliated with the Debtors through common ownership and control which is a debtor in a separate
                                                                 15
                                                                      chapter 11 proceeding pending in front of this Court. Together, Mr. Kosmides and I are referred to
                                                                 16
                                                                      herein as the “Founders”).
                                                                 17
                                                                                 2.       I submit this declaration (the “Declaration”) in support of the Debtors’ Motion for an
                                                                 18
                                                                      Order, Pursuant to Bankruptcy Code Section 1121(d), Further Extending the Exclusive Period for
                                                                 19
                                                                      the Solicitation of Acceptances of Chapter 11 Plan (the “Motion”).2
                                                                 20
                                                                                 3.       On August 29, 2018, the SoCal Debtors filed voluntary petitions for relief under
                                                                 21
                                                                      chapter 11 of the Bankruptcy Code. On September 5, 2018, RDI filed a related chapter 11 case. On
                                                                 22
                                                                      September 5, 2018, the Court entered an order jointly administering the Debtors’ cases, with RDI
                                                                 23
                                                                      designated as the lead debtor. On September 6, 2018, RFS, an entity affiliated with the Debtors
                                                                 24
                                                                      through common ownership and control, commenced a separate chapter 11 proceeding. The RFS
                                                                 25
                                                                      chapter 11 case is not jointly administered with the Debtors’ cases.
                                                                 26
                                                                                 4.       No party has requested the appointment of a trustee or examiner in the Debtors’
                                                                 27

                                                                 28   2
                                                                          Capitalized terms not defined herein have the meanings ascribed to them in the Motion, as applicable.


                                                                      DOCS_LA:322548.2 76135/003                                 10
                                                                  Case 8:18-bk-13311-CB            Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50              Desc
                                                                                                    Main Document    Page 11 of 22


                                                                  1   cases. On September 19, 2018, the Office of the United States Trustee appointed an Official

                                                                  2   Committee of Unsecured Creditors in the RDI case (the “Committee”).

                                                                  3           5.       On March 11, 2019, the Court entered an order extending the Debtors’ exclusive

                                                                  4   period for the solicitation of acceptances of a chapter 11 plan (the “Exclusive Solicitation Period”)

                                                                  5   until June 24, 2019, without prejudice to the Debtors’ rights to seek additional extensions thereof.

                                                                  6           6.       On April 24, 2019, the Debtors, together with RFS, filed their Joint Chapter 11 Plan

                                                                  7   of Reorganization (the “Plan”) [Docket No. 344] and their Disclosure Statement Describing Joint

                                                                  8   Chapter 11 Plan of Reorganization (the “Disclosure Statement”) [Docket No. 345].

                                                                  9           7.       Objections to the Disclosure Statement were filed by the Office of the United States

                                                                 10   Trustee (the “UST”) [Docket No. 361], Pillsbury Winthrop Shaw Pittman LLP (“Pillsbury”) [Docket

                                                                 11   No. 364] and Opus Bank [Docket No. 367]. The Committee raised informal objections to the
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                                                                 12   Disclosure Statement, however, by virtue of the agreement between the parties to attempt to resolve
                                        COSTA MESA, CALIFORNIA




                                                                 13   their disputes through mediation, has not filed a formal objection to the Disclosure Statement.
                                          ATTORNEYS AT LAW




                                                                 14           8.       The Debtors, RFS and the Committee agreed to enter mediation in an effort to resolve

                                                                 15   the issues between the parties, and to that end, on May 22, 2019, the Debtors filed their Request for

                                                                 16   Assignment to Mediation Program (the “Request for Mediation”) [Docket No. 365], and on May 29,

                                                                 17   2019, the Court entered its order assigning the parties to mediation. Other interested parties

                                                                 18   requested that they be included in the mediation as well.

                                                                 19           9.       A hearing on approval of the Disclosure Statement has been continued to August 7,

                                                                 20   2019 to allow the parties to attempt to mediate their disputes with respect to the Plan.

                                                                 21           10.      The primary parties to the mediation are the Debtors, RFS, the Founders and the

                                                                 22   Committee. Opus Bank, Pillsbury and U.S. Foods, Inc., significant creditors of certain of the

                                                                 23   Debtors, may also be involved in the mediation if the issues with these creditors cannot be resolved

                                                                 24   prior to the mediation.

                                                                 25           11.      The mediation is scheduled for June 21, 2019 before the Honorable Scott C.

                                                                 26   Clarkson.

                                                                 27           12.      In light of the pending mediation scheduled for June 21, 2019, and the August 7, 2019

                                                                 28   continued hearing date on approval of the Disclosure Statement, the Debtors will not be in a position


                                                                      DOCS_LA:322548.2 76135/003                       11
                                                                  Case 8:18-bk-13311-CB            Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50               Desc
                                                                                                    Main Document    Page 12 of 22


                                                                  1   to meet the current Exclusive Solicitation Period of June 24, 2019.

                                                                  2           13.      Therefore, the Debtors request that the Exclusive Solicitation Period pursuant to

                                                                  3   section 1121(d) of the Bankruptcy Code be extended for a period of approximately sixty (60) days

                                                                  4   following the August 7, 2019 scheduled hearing on approval of the Disclosure Statement, through

                                                                  5   and including October 7, 2019, without prejudice to the Debtors’ right to seek further extension of

                                                                  6   that period as may be appropriate under the circumstances.

                                                                  7           14.      The requested extension will to allow the parties to conduct the mediation, file an

                                                                  8   amended Plan and Disclosure Statement thereafter, seek approval of the Disclosure Statement at the

                                                                  9   scheduled continued hearing on August 7, 2019, and request that the Court schedule dates and

                                                                 10   deadlines relating to confirmation of the Plan and solicitation of votes with respect thereto.

                                                                 11           15.      Good faith progress made in attempting to resolve the parties’ disputes justifies the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                 12   requested extension of the Exclusive Solicitation Period.
                                        COSTA MESA, CALIFORNIA




                                                                 13           16.      In addition, I believe that the termination of the Exclusive Solicitation Period could
                                          ATTORNEYS AT LAW




                                                                 14   adversely impact these cases. If the Court were to deny the Debtors’ request for an extension of the

                                                                 15   Exclusive Solicitation Period, any party in interest would be free to propose a chapter 11 plan(s) for

                                                                 16   the Debtors at the same time as the Debtors are actively attempting to resolve the issues regarding

                                                                 17   the Plan and Disclosure Statement so that they may move forward with a consensual disclosure

                                                                 18   statement approval and plan confirmation process. A denial of the Motion could foster a disorderly

                                                                 19   environment, confuse creditors and other parties in interest, and cause substantial harm to the

                                                                 20   Debtors’ efforts to preserve and maximize the value of their estates. The requested extension of the

                                                                 21   Exclusive Solicitation Period is thus necessary to provide the Debtors with an unimpeded

                                                                 22   opportunity to obtain approval of an amended Disclosure Statement and confirm an amended Plan.

                                                                 23           17.      The Debtors are not seeking an extension of the Exclusive Solicitation Period to

                                                                 24   pressure creditors or other parties in interest. The Debtors are in the process of working with the

                                                                 25   Committee and the other major active constituencies in negotiating and formulating the Plan and will

                                                                 26   be engaging in mediation in an effort to resolve outstanding disputes. The requested extension is

                                                                 27   reasonably limited insofar as it provides a window in which the Plan could be confirmed by the

                                                                 28   Court in light of the currently scheduled August 7th hearing on approval of Disclosure Statement.


                                                                      DOCS_LA:322548.2 76135/003                        12
Case 8:18-bk-13311-CB   Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50   Desc
                         Main Document    Page 13 of 22
        Case 8:18-bk-13311-CB                   Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50                                      Desc
                                                 Main Document    Page 14 of 22



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

650 Town Center Drive, Suite 1500, Costa Mesa, CA 92626

A true and correct copy of the foregoing document entitled: DEBTORS’ NOTICE OF MOTION AND MOTION
FOR AN ORDER, PURSUANT TO BANKRUPTCY CODE SECTION 1121(d), FURTHER EXTENDING THE
EXCLUSIVE PERIOD FOR THE SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF DOUGLAS S. CAVANAGUH IN
SUPPORT THEREOF will be served or was served (a) on the judge in chamber in the form and manner
required by LBR 5005-2(d); and the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
6/19/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On 6/19/2019 I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on 6/19//2019, I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 6/19/2019                    Jennifer O’Keefe                                                /s/ Jennifer O’Keefe
 Date                         Printed Name                                                    Signature
          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:321156.1 76135/003
        Case 8:18-bk-13311-CB                   Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50                                      Desc
                                                 Main Document    Page 15 of 22


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

       George B Blackmar gblackmar@bpslaw.net
       Dustin P Branch branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
       Aaron Davis aaron.davis@bryancave.com, kat.flaherty@bryancave.com
       Alan J Friedman afriedman@shbllp.com, lgauthier@shbllp.com
       Eric J Fromme efromme@tocounsel.com, lchapman@tocounsel.com;sschuster@tocounsel.com
       Alastair M Gesmundo agesmundo@wcghlaw.com, jmartinez@wcghlaw.com
       Richard H Golubow rgolubow@wcghlaw.com,
        pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
       Steven T Gubner sgubner@bg.law, ecf@bg.law
       Michael J Hauser michael.hauser@usdoj.gov
       Garrick A Hollander ghollander@wcghlaw.com,
        pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
       Lillian Jordan ENOTICES@DONLINRECANO.COM, RMAPA@DONLINRECANO.COM
       David S Kupetz dkupetz@sulmeyerlaw.com,
        dperez@sulmeyerlaw.com;dperez@ecf.courtdrive.com;dkupetz@ecf.courtdrive.com
       William N Lobel wlobel@pszjlaw.com, nlockwood@pszjlaw.com;jokeefe@pszjlaw.com;banavim@pszjlaw.com
       Robert S Marticello Rmarticello@swelawfirm.com,
        gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
       Jessica G McKinlay mckinlay.jessica@dorsey.com
       Malcolm D Minnick dminnick@pillsburylaw.com, m.minnick@comcast.net
       Ernie Zachary Park ernie.park@bewleylaw.com
       Valerie Smith claims@recoverycorp.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Matthew S Walker matthew.walker@pillsburylaw.com, renee.evans@pillsburylaw.com
       Corey R Weber ecf@bg.law, cweber@bg.law
       Sharon Z. Weiss sharon.weiss@bclplaw.com, raul.morales@bclplaw.com
       Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com

2. SERVED BY UNITED STATES MAIL:

SEE ATTACHED MAILING LIST

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:

Via Overnight Mail
The Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California/Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtesy Bin
Santa Ana, CA 92701-4593




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:321156.1 76135/003
          Case 8:18-bk-13311-CB       Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50              Desc
                                       Main Document    Page 16 of 22

                                        20 Largest Unsecured –
                                             Laguna Hills


       US FOODS ‐ LA MIRADA                  MGP FUND X LAGUNA HILLS LLC            FIRST INSURANCE FUNDING CORP
         BRIAN SONDHEIM                           STUART CRANDELL                 OFFICER, DIRECTOR, MANAGER, AGENT
                                               425 CALIFORNIA STREET
   540 NORTHEAST LANDON ROAD                         10TH FLOOR                               PO BOX 7000
        BELFAIR, WA 98528                     SAN FRANCISCO, CA 94101                 CAROL STREAM, IL 60197‐7000

      CROUDACE & DIETRICH LLP            PRECISION AIR COOLING, & HEATING               FAMILY TREE PRODUCE
                                                   SERVICES, LLC
      ATTN: VIRGINIA CROUDACE                                                              FIDEL GUZMAN
                                                SCOTT DEN HARTOG
  2151 MICHAELSON DRIVE, SUITE 162               247 PLUMBERS RD.
                                                                                        5510 E LA PALMA AVE.
          IRVINE, CA 92612                      COLUMBIA, SC 29203                       ANAHEIM, CA 92807

 MICHAEL ROBERT WILSON, DBA WILSON           CALIFORNIA NEWSPAPERS                         PURITAN BAKERY
           CONSTRUCTION                     PARTNERSHIP/OC REGISTER                          JIM STONE
          MICHAEL WILSON
                                             2190 S TOWNE CENTRE PL                       1624 E CARSON ST
          14302 YORBA ST.
          TUSTIN, CA 92780
                                               ANAHEIM, CA 92806                          CARSON, CA 90745

 CALIFORNIA RESTAURANT MUTUAL               G&G BOOKKEEPING, INC.                   INDUSTRIAL ELECTRIC SEVICE INC
DAVID JOHNSON/TRAVIS HARPER COO                 GLYNIS RAMIREZ                    OFFICER, DIRECTOR, MANAGER, AGENT
          PO BOX 45783                     19602 COUNTRY LAKE DRIVE                      5662 ENGINEER DRIVE
  SAN FRANCISCO, CA 94145‐0783                MAGNOLIA, TX 77355                     HUNTINGTON BEACH, CA 92649

          FACILITEC WEST                      WASSERTROM COMPANY INC                        GASKETS USA LLC
         MARIAN BECHTOL                   OFFICER, DIRECTOR, MANAGER, AGENT       OFFICER, DIRECTOR, MANAGER, AGENT
                                                     PO BOX 182056
           PO BOX 6008                         COLUMBUS, OH 43218‐2056                10741 SHERMAN WAY, SUITE 3
       SAN PEDRO, CA 90734               RTS ON 5/17/19 – FWD TIME EXP – NEW             SUN VALLEY, CA 91352
                                                        ADDRESS

  PRUDENTIAL OVERALL SUPPLY INC              NATIONAL PLASTIC CO INC                      THE PAPER COMPANY
OFFICER, DIRECTOR, MANAGER, AGENT                  BRYAN CARR                     OFFICER, DIRECTOR, MANAGER, AGENT
                                           3700 SAN GABRIEL RIVER PKWY
            PO BOX 11210                                                                      PO BOX 17807
                                              PICO RIVERA, CA 90660
     SANTA ANA, CA 92711‐1210         NEW ADRS ‐ RTS ON 5/7/19 FWD TIME EXPIRED             IRVINE, CA 92623

OAK GROVE PTA, OAK GROVE ELEMENTARY           SHOES FOR CREWS LLC
            PTA PRESIDENT
                                      OFFICER, DIRECTOR, MANAGER, AGENT
           22705 SANBORN
        ALISO VIEJO, CA 92656
                                                 PO BOX 504634
                                             SAINT LOUIS, MO 63150
     Case 8:18-bk-13311-CB    Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50    Desc
                               Main Document    Page 17 of 22

                                20 Largest Unsecured –
                                     SoCal Diners


MGP FUND X LAGUNA HILLS LLC     MISSION VALLEY SHOPPINGTOWN LLC    STAR‐WEST PARKWAY MALL, LP
 MANAGER MEMBER AGENT               MANAGER MEMBER AGENT              DANIAL TOSCANO, ESQ.
  425 CALIFORNIA STREET              2049 CENTURY PARK EAST               PO BOX 844767
       10TH FLOOR                          41ST FLOOR                      10TH FLOOR
 SAN FRANCISCO, CA 94101              LOS ANGELES, CA 90067          SAN FRANCISCO, CA 94104
          Case 8:18-bk-13311-CB        Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50             Desc
                                        Main Document    Page 18 of 22

                                         20 Largest Unsecured –
                                            Huntington Beach


   CITY OF HUNTINGTON BEACH                   US FOODS ‐ LA MIRADA                  CROUDACE & DIETRICH LLP
ATTN.: DEPUTY DIRECTOR, OFFICE OF               BRIAN SONDHEIM                      ATTN: VIRGINIA CROUDACE
           PO BOX 190                     540 NORTHEAST LANDON ROAD             2151 MICHAELSON DRIVE, SUITE 162
  HUNTINGTON BEACH, CA 92648                   BELFAIR, WA 98528                       IRVINE, CA 92612

       FAMILY TREE PRODUCE              MICHAEL ROBERT WILSON, DBA WILSON              INTERIOR RESOURCES INC
                                                    CONSTRUCTION                 OFFICER, DIRECTOR, MANAGER, AGENT
          FIDEL GUZMAN
                                                   MICHAEL WILSON                      489‐20 JOHNSON AVENUE
       5510 E LA PALMA AVE.                        14302 YORBA ST.                        BOHEMIA, NY 11716
        ANAHEIM, CA 92807              TUSTIN, CA 92780                       REMOVED PER REQUEST 2/12/19

          PURITAN BAKERY                  SOUTHERN CALIFORNIA EDISON          ECOTECH REFRIGERATION & HVAC INC
            JIM STONE                  OFFICER, DIRECTOR, MANAGER, AGENT      OFFICER, DIRECTOR, MANAGER, AGENT
         1624 E CARSON ST                           PO BOX 300                   1630 SUNKIST STREETR, SUITE R
CARSON, CA 90745                       ROSEMEAD, CA 91771                     ANAHEIM, CA 92806

  CALIFORNIA RESTAURANT MUTUAL           FIRST INSURANCE FUNDING CORP             MINUTEMAN INDUSTRIES INC
 DAVID JOHNSON/TRAVIS HARPER COO       OFFICER, DIRECTOR, MANAGER, AGENT         LINDY OFFICER DIR MGR AGENT
           PO BOX 45783                            PO BOX 7000                           PO BOX 4983
SAN FRANCISCO, CA 94145‐0783           CAROL STREAM, IL 60197‐7000            GARDEN GROVE CA 92842

        G & G BOOKKEEPING INC                 HARBOR DISTRIBUTING LLC                MAINTENANCE BUILDING SVC
GLYNIS RAMIREZ OFFICER DIR MGR AGENT    DBA GATE CITY BEVERAGE DISTRIBUTION   VICTOR SANTANAOFFICER DIR MGR AGENT
        19602 COUNTRY LAKE DR            OFFICER, DIRECTOR, MANAGER, AGENT              1665 E 4TH ST, STE 104B
MAGNOLIA TX 77355                                   PO BOX 842685                        SANTA ANA CA 92701
                                       LOS ANGELES CA 90084                   Invalid address 1.10.19 no FWD Address

          GARDA CL WEST INC                     3 WIRE GROUP INC                        UNION BANK NA
 SUSAN LOETELL OFFICER DIR MGR AGENT
                                        OFFICER DIRECTOR MANAGER AGENT         OFFICER DIRECTOR MANAGER AGENT
            LOCKBOX 233209
         3209 MOMENTUM PL
                                                NW 79PO BOX 1450                         PO BOX 650349
CHICAGO IL 60689                       MINNEAPOLIS MN 55485‐7964                        DALLAS TX 75265

         KLM MANAGEMENT CO                      REEF SYSTEMS INC
        DBA AMCOM FOOD SVC
                                       OFFICER DIRECTOR MANAGNER AGENT
  OFFICER, DIRECTOR, MANAGER, AGENT
          14120 E VALLEY BLVD
                                             2931 GRACE LANE, UNIT G
LA PUENTE CA 91746                     COSTA MESA CA 92626
         Case 8:18-bk-13311-CB      Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50          Desc
                                     Main Document    Page 19 of 22

                                      20 Largest Unsecured –
                                            Oceanside


       US FOODS ‐ LA MIRADA             SOUTH CITY MECHANICAL INC         MICHAEL ROBERT WILSON, DBA WILSON
         BRIAN SONDHEIM              OFFICER DIRECTOR MANAGER AGENT                 CONSTRUCTION
   540 NORTHEAST LANDON ROAD                    8822 TROY ST                       MICHAEL WILSON
                                                                                   14302 YORBA ST.
        BELFAIR, WA 98528                 SPRING VALLEY CA 91977
                                                                                   TUSTIN, CA 92780

      FAMILY TREE PRODUCE                      RESCUE ROOTER                        PURITAN BAKERY
         FIDEL GUZMAN                  T NELSON OFFICER DIR MGR AGENT                 JIM STONE
                                               9895 OLSON DR
      5510 E LA PALMA AVE.                                                         1624 E CARSON ST
                                                    STE A
       ANAHEIM, CA 92807                     SAN DIEGO CA 92121
                                                                                   CARSON, CA 90745

 ASAP DRAIN GUYS AND PLUMBING          CUSTOM BUSINESS SOLUTIONS INC       CALIFORNIA RESTAURANT MUTUAL
 OFFICER DIRECTOR MEMBER AGENT        ANTHONY GARTUNG OFFICER DIR MGR     DAVID JOHNSON/TRAVIS HARPER COO
                                                   AGENT
     999 RANCHEROS DR, STE B                                                        PO BOX 45783
                                                12 MORGAN
      SAN MARCOS CA 92069                    IRVINE CA B 92618
                                                                            SAN FRANCISCO, CA 94145‐0783

  FIRST INSURANCE FUNDING CORP            AIRE RITE AIR CONDITIONING              G & G BOOKKEEPING INC
OFFICER, DIRECTOR, MANAGER, AGENT   DAVE LANGSTON OFFICER DIR MGR AGENT   GLYNIS RAMIREZ OFFICER DIR MGR AGENT
                                             15122 BOLSA CHICA ST                 19602 COUNTRY LAKE DR
            PO BOX 7000
                                          HUNTINGTON BCH. CA 92649                  MAGNOLIA TX 77355
    CAROL STREAM, IL 60197‐7000

       OPTIMAL BIOFUELS INC           PRUDENTIAL OVERALL SUPPLY INC            EDISON FIRE PROTECTION
  DONOVAN SAFAEL OFFICER DIR MGR     OFFICER DIRECTOR MANAGER AGENT       OFFICER DIRECTOR MANAGER AGENT
              AGENT                                                             3621 EAGLE ROCK BLVD
                                             1661 ALTON PKWY
           PO BOX 10986
                                              IRVINE CA 92606                   LOS ANGELES CA 90065
      NEWPORT BCH. CA 92658

     JANI‐KING OF CALIFORNIA INC      MIGUEL CANTU SOLANO (Ntc of Move             GARDA CL WEST INC
  OFFICER DIRECTOR MANAGER AGENT                   1/31/19)               SUSAN LOETELL OFFICER DIR MGR AGENT
              FILE 749318                DBA MCPAINTING HANDYMAN                    LOCKBOX 233209
      LOS ANGELES CA 90074‐9318               2015 CATALINA AVE                   3209 MOMENTUM PL
       FED EX RETURNED 01.10.19              VISTA CA 92084‐4803                    CHICAGO IL 60689

            NUC02 LLC                       CITY OF OCEANSIDE
OFFICER DIRECTOR MANAGER AGENT        FINANCIAL SERVICES DEPARTMENT
          PO BOX 417902                      300 N COAST HWY
     BOSTON MA 02241‐7902                  OCEANSIDE, CA 92054
          Case 8:18-bk-13311-CB        Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50        Desc
                                        Main Document    Page 20 of 22

                                         20 Largest Unsecured –
                                              Palm Springs


         GRIT DEVELOPMENT                     US FOODS ‐ LA MIRADA                      LAKE AIR
  OFFICER DIRECTOR MANAGER AGENT                BRIAN SONDHEIM             OFFICER DIRECTOR MANAGER AGENT
   201 NORTH PALM CANYON DRIVE,
                                          540 NORTHEAST LANDON ROAD                583 OLEANDER RD
              SUITE 200
       PALM SPRINGS, CA 92262
                                               BELFAIR, WA 98528                PALM SPRINGS CA 92264

       FAMILY TREE PRODUCE                STACEY'S REFRIGERATION AND AIR   GENE PHELPS DBA US AIR CONDITIONING
          FIDEL GUZMAN                             CONDITIONING             OFFICER DIRECTOR MANAGER AGENT
                                         OFFICER DIRECTOR MANAGER AGENT           4517 BIRCHWOOD AVE
       5510 E LA PALMA AVE.
                                                    PO BOX 232                     SEAL BEACH CA 90740
        ANAHEIM, CA 92807
                                           DESERT HOT SPRINGS CA 92240

          PURITAN BAKERY                  SOUTHERN CALIFORNIA EDISON         CUSTOM BUSINESS SOLUTIONS INC
            JIM STONE                  OFFICER, DIRECTOR, MANAGER, AGENT    ANTHONY GARTUNG OFFICER DIR MGR
                                                                                         AGENT
         1624 E CARSON ST                           PO BOX 300
                                                                                      12 MORGAN
         CARSON, CA 90745                      ROSEMEAD, CA 91771                  IRVINE CA B 92618

 CALIFORNIA RESTAURANT MUTUAL            FIRST INSURANCE FUNDING CORP         DM DOBKIN INC DBA MR ROOTER
DAVID JOHNSON/TRAVIS HARPER COO        OFFICER, DIRECTOR, MANAGER, AGENT                 PLUMBER
                                                                             OFFICER DIRECTOR MANAGER AGENT
          PO BOX 45783                             PO BOX 7000
                                                                                        PO BOX 338
  SAN FRANCISCO, CA 94145‐0783             CAROL STREAM, IL 60197‐7000             PALM DESERT CA 92261

        G & G BOOKKEEPING INC                 SOUTHWEST PLUMBING            PRUDENTIAL OVERALL SUPPLY INC
GLYNIS RAMIREZ OFFICER DIR MGR AGENT    OFFICER DIRECTOR MANAGER AGENT     OFFICER DIRECTOR MANAGER AGENT
        19602 COUNTRY LAKE DR                   31410 RESERVE DR                   1661 ALTON PKWY
          MAGNOLIA TX 77355                 THOUSAND PALMS CA 92276                 IRVINE CA 92606

       BERKELEY INSURANCE CO                     MICROCOOL INC             COOLAIRTEK AIR CONDITIONING AND REFRI
  OFFICER DIRECTOR MANAGER AGENT        OFFICER DIRECTOR MANAGER AGENT       OFFICER DIRECTOR MANAGER AGENT
          475 STEAMBOAT RD                                                             1540 LELAND ST
                                          72216 NORTHSORE ST, #103‐104
                 FL 1                                                               BEAUMONT CA 92223
                                            THOUSAND PALMS CA 92276
        GREENWICH CT 06830

           CINTAS CORP                         SPECIALTY COOLING INC
OFFICER DIRECTOR MANAGER AGENT           OFFICER DIRECTOR MANAGER AGENT
          PO BOX 29059                        1661 MARTENS RIVER CIR
                                                      UNIT M
      PHOENIX AZ 85038‐9059
                                             FOUNTAIN VALLEY CA 92708
         Case 8:18-bk-13311-CB       Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50        Desc
                                      Main Document    Page 21 of 22

                                      US Trustee, USA, State of
                                       California, Special Ntc


     OFFICE OF THE US TRUSTEE          UNITED STATES DEPT. OF JUSTICE     FRANCHISE TAX BOARD CHIEF COUNSEL
         MICHAEL HAUSER                    BEN FRANKLIN STATION              C/O GENERAL COUNSEL SECTION
411 WEST FOURTH STREET, SUITE 7160              PO BOX 683                      PO BOX 1720, MS: A‐260
       SANTA ANA CA 92701                  WASHINGTON DC 20044              RANCHO CORDOVA, CA 95741‐1720


FRANCHISE TAX BOARD BANKRUPTCY        EMPLOYMENT DEVELOPMENT DEPT.        UNITED STATES ATTORNEY'S OFFICE
       SECTION MS: A‐340                BANKRUPTCY GROUP MIC 92 E            300 NORTH LOS ANGELES ST
          PO BOX 2952                        PO BOX 826880                 FEDERAL BUILDING, ROOM 7516
   SACRAMENTO, CA 95812‐2952            SACRAMENTO, CA 94280‐0001              LOS ANGELES CA 90012

      INTERNAL REVENUE SVC                 INTERNAL REVENUE SVC                 INTERNAL REVENUE SVC
CENTRALIZED INSOLVENCY OPERATION           INSOLVENCY STOP 5022                OFFICE OF CHIEF COUNSEL
           PO BOX 7346                  300 N LOS ANGELES ST, RM 406      10TH ST AND PENNSYLVANIA AVE NW
                                                                                 WASHINGTON DC 20530
   PHILADELPHIA, PA 19101‐7346             LOS ANGELES, CA 90012

       INTERNAL REVENUE SVC                 INTERNAL REVENUE SVC               INTERNAL REVENUE SVC
               AGENT                   GJ CARTER LOUIS OR OTHER AGENT               PO BOX 21126
          2970 MARKET ST                        PO BOX 145595
                                                                               PHILADELPHIA, PA 19114
         MAIL STOP 5‐Q30133                      STOP 8420G
    PHILADELPHIA, PA 19104‐5016            CINCINNATI, OH 45250‐5585

      INTERNAL REVENUE SVC                 INTERNAL REVENUE SVC            CALIFORNIA DEPT. OF TAX AND FEE
           PO BOX 21126                    BEN FRANKLIN STATION                   ADMINISTRATION
             DPN 781                            PO BOX 683                          450 N STREET
                                                                                   PO BOX 942879
      PHILADELPHIA, PA 19114               WASHINGTON DC 20044
                                                                             SACRAMENTO, CA 94279‐0055

          DAN MCALLISTER                   CROUDACE & DIETRICH LLP             U.S. SECURITIES & EXCHANGE
     TREASURER‐TAX COLLECTOR                                                           COMMISSION
                                           ATTN: VIRGINIA CROUDACE
    ATTENTION: BANKRUPTCY DESK                                                ATTN: BANKRUPTCY COUNSEL
                                       2151 MICHAELSON DRIVE, SUITE 162   444 SOUTH FLOWER STREET, SUITE 900
  1600 PACIFIC HIGHWAY, ROOM 162
        SAN DIEGO, CA 92101
                                              IRVINE, CA 92612                    LOS ANGELES, CA 90071
           Case 8:18-bk-13311-CB             Doc 390 Filed 06/19/19 Entered 06/19/19 12:46:50               Desc
                                              Main Document    Page 22 of 22

                                                   Secured Creditors



 JULIET CHURCHILL AS CALIFORNIA REGISTERED    KIMBERLY A. LAMBERTY AS PRESIDENT AND AS
                                                                                            CREDIT MANAGERS ASSOCIATION
AGENT FOR CREDIT MANAGEMENT ASSOCIATION         NEVADA REGISTERED AGENT FOR CREDIT
     DBA CREDIT MANAGERS ASSOCIATION            MANAGEMENT ASSOCIATION DBA CREDIT           KIMBERLY LAMBERTY, PRESIDENT
       111 N. MARYLAND AVE., SUITE 200                 MANAGERS ASSOCIATION              303 NORTH GLEN OAK BLVD., SUITE 200
              GLENDALE, CA 91206                   3110 W CHEYENNE AVE, SUITE 100                 BURBANK, CA 91502
    RTS ON 5/7/19 – NOT AT THIS ADDRESS                N. LAS VEGAS, NV 89032

         C AND C PARTNERSHIP
              RONAL CLEAR
                56 TESLA
            IRVINE, CA 92618
